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              UNITED STATES DISTRICT COURT
                               Eastern District of California
     Petition to Modify the Conditions or Term of Supervision
                   with Consent of the Offender
                        (Probation Form 49, Waiver of Hearing, is on file)

Name of Offender:      Phi Vay Bui                           Docket Number:      0972 2:07CR00122-01

Name of Judicial Officer:      Senior United States District Judge William B. Shubb

Date of Original Sentence:     07/31/2009

Original Offense: 21 U.S.C. § 846 and 841(a)(1) - Conspiracy to Distribute and Possess with Intent to
Distribute MDMA; and 21 U.S.C. § 841(a)(1) - Possession with Intent to Distribute MDMA (Class C
Felonies).

Original Sentence: 87 months custody Bureau of Prisons; 36 months Supervised Release; $200 special
assessment; Mandatory drug testing; No firearms; DNA collection

Special Conditions:

        1.     Warrantless Search
        2.     Financial Disclosure
        3.     Drug/Alcohol Treatment
        4.     Drug/Alcohol Testing
        5.     Pager/Cellular Phone Restriction
        6.     Aftercare Co-Payment
        7.     Cooperate With Immigration Officials


Type of Supervision:     TSR

Date Supervision Commenced:          8/20/2015

Other Court Actions:

01/07/2015:      Sentence reduced to 70 months imprisonment due to amendments to the sentencing
                 guideline range.




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                                   PETITIONING THE COURT

To modify the conditions of supervision as follows:

 8.      The defendant shall complete 20 hours per week of unpaid community service as directed by
         the probation officer. The defendant shall pay fees attendant to participation and placement in
         this program on a sliding scale as determined by the program. Community service shall be
         completed at the rate of 20 hours per week until the defendant becomes employed.

Justification: Phi Bui commenced his term of supervised release on August 20, 2015. It is noted that
after completing his prison sentence he was transferred to Bureau of Immigration and Customs
Enforcement (ICE) custody for deportation proceedings. He remained in ICE custody until March 3,
2016, when he was released under an Order of Supervision.

Since his release from custody, Bui has failed to provide urine samples of seven occasions. In July 2016,
I referred him to Moral Reconation Therapy based on missed urine samples. His attendance for drug
testing improved after that; however, he missed three random urine tests in November 2016.

Bui has not been working since his release from custody. Based on his deportation status, he is required
to obtain a work permit through ICE. At his intake, I directed Bui to submit his application for a work
permit; however, he only recently has done so.

Bui lives with his father. He is unemployed and has sufficient time to attend all drug tests and to apply
for his work permit. Based on his pattern of noncompliance with drug testing and procrastination towards
filing for a work permit, I recommend that Bui participate in community service hours at the rate of
20 hours per week, until he obtains employment. I explained Bui’s right to have an attorney and a
hearing before the Court. He chose to waive the hearing as evidenced by his signature on the attached
Waiver of Hearing form.

                                                      Respectfully submitted,




                                                      Sara Gnewikow
                                                      Sr. United States Probation Officer
                                                      Telephone: 916-930-4312
DATED:        12/1/2016
                                                      Reviewed by,




                                                      George A. Vidales
                                                      Supervising United States Probation Officer


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THE COURT ORDERS:

☒ Modification approved as recommended.

Dated: December 1, 2016




CC:

United States Probation

Assistant United States Attorney: Todd Leras

Defense Counsel: Christopher Haydn-Mayer




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